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                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA,                                       Court File No. 15-cr-216 (2) (DWF/LIB)

                    Plaintiff,

v.                                                              REPORT AND RECOMMENDATION

Alfredo Gil-Garcia (2),

                    Defendant.


            This matter comes before the undersigned United States Magistrate Judge upon

Defendant Alfredo Gil-Garcia’s (“Defendant”) Motion to Suppress Statements, [Docket No. 49].

This case has been referred to the undersigned Magistrate Judge for a report and

recommendation, in accordance with 28 U.S.C. § 636(b)(1) and Local Rule 72.1. The Court held

a motions hearing on November 19, 2015, regarding Defendant’s pretrial motions. 1 The parties

declined the opportunity to submit supplemental briefing regarding Defendant’s Motion to

Suppress Statements, [Docket No. 49], and the Court took Defendant’s Motion to Suppress

Statements, [Docket No. 49], under advisement on November 19, 2015.

            For reasons discussed herein, the Court recommends that Defendant’s Motion to

Suppress Statements, [Docket No. 49], be GRANTED.

       I.       BACKGROUND AND STATEMENT OF FACTS

       A. Background

            On July 21, 2015, Defendant was indicted on one charge of sexual abuse, in violation of

18 U.S.C. §§ 2, 1151, 1152, 1153(a), 2242(2)(B) and 2246(2)(A). (Indictment [Docket No. 1]).




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    The Court addressed Defendant’s pretrial discovery motions by separate order, [Docket No. 58].
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    B. Facts 2

        Federal Bureau of Investigation (“FBI”) Special Agent Jonathan Tjernagel (“SA

Tjernagel”) met with Defendant two times before the date on which Defendant was indicted with

the charges against him.

        On the first occasion, SA Tjernagel met with Defendant to obtain his consent to collect a

DNA sample from Defendant. Defendant, who is from Cuba, speaks Spanish. SA Tjernagel, who

does not speak Spanish, spoke to Defendant in English during that meeting. SA Tjernagel had

difficulty understanding Defendant during the meeting.

        On the second occasion, SA Tjernagel went to Defendant’s residence on the Red Lake

Reservation to speak with him regarding the events that form the basis for the Indictment. SA

Tjernagel again spoke to Defendant in English during that encounter. To SA Tjernagel, it

appeared that Defendant and SA Tjernagel were able to understand each other, but with

difficulty.

        Sometime between one to two months after July 21, 2015, the date on which Defendant

was indicted, law enforcement officers executed an arrest warrant for Defendant that was issued

pursuant to the Indictment.

        On September 22, 2015, SA Tjernagel sought to interview Defendant at the United States

Marshals’ office in Saint Paul, Minnesota, where Defendant was being held in custody. SA

Tjernagel decided to have the interview conducted in Spanish because Defendant was more

comfortable speaking Spanish than English. SA Tjernagel asked FBI Special Agent Jonathan

Holden (“SA Holden”), who is trained in speaking and understanding Spanish, to assist with the

interview.

2
  The Court’s statement of facts is derived from the testimony of Federal Bureau of Investigation Special Agent
Jonathan E. Holden and Federal Bureau of Investigation Special Agent Jonathan Tjernagel at the November 19,
2015, motions hearing, as well as, the exhibits admitted into evidence at that hearing.

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        SA Tjernagel and SA Holden interviewed Defendant in a room at the U.S. Marshals’

office. A Deputy Marshal brought Defendant from his cell to the interview room, where SA

Holden and SA Tjernagel were waiting. Once Defendant entered the room, the Agents shut the

door and began recording the interview. The Agents displayed their FBI credentials to Defendant

and identified themselves as FBI Agents. The Agents were unarmed. SA Holden was dressed in

a suit. SA Tjernagel was dressed in casual attire.

        SA Holden did most of the speaking to Defendant during the interview. When SA Holden

began speaking with Defendant, SA Holden noticed that Defendant appeared to be speaking in a

dialect of Spanish that SA Holden associated with Cubans who lacked much formal education.

As a result, it initially took SA Holden several minutes to get accustomed to Defendant’s accent

and the dialect of Spanish Defendant was speaking. However, after a period, SA Holden was

able to understand Defendant such that he was able to converse with Defendant. It appeared to

SA Holden that Defendant was able to understand SA Holden as well.

        Only about four minutes into the interview, the following exchange 3 occurred:

SA Holden:       Okay, you know why we are here?

Defendant:       Hmm, why?

SA Holden:       You tell me. Do you know or not?

Defendant:       Hmm?

SA Holden:       You know the reason we are here?

Defendant:       I think so, that the reason is for the story of the, the girl there, right?

SA Holden:       What is her name?

3
 This translation was offered into evidence at the hearing by the Defendant, (Def. Ex. A), without objection by the
Government. SA Holden and Defendant spoke to each other in Spanish. At some points, the Agents spoke to each
other in English. As the Court has set forth the translated description of the Spanish spoken during interview in
English, the Agents’ statements in English have been italicized to designate that they were originally spoken in
English.

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Defendant:    I don’t remember her, her name.

SA Holden:    Okay. But, that’s the reason are here? [sic]

Defendant:    Hmm?

SA Holden:    Because of what happened to her. Because, about, what happened to her.

Defendant:    What happened to her?

SA Holden:    You tell me. You were there.

Defendant:    I was at the house there, in the house, we were drinking tequila… Are you my

              attorney or what? Are you the one who is going to be my attorney?

SA Holden:    Well…

Defendant:    Well, here I don’t want to talk to the other one either.

SA Holden:    Well, you have that right.

Defendant:    Yes, I have the right to talk to attorney of this problem, I don’t have to talk to you.

SA Holden:    Okay. Look, here is a form…

Defendant:    Yeah.

SA Holden:    Of your rights, your rights.

(Def. Ex. A, 1) (emphasis added).

       Defendant then stated that he had been told that he had an attorney. (Id.). After Defendant

told SA Holden that he could not read, SA Holden read Defendant the Miranda warnings from a

Spanish version of an FBI Advice of Rights Form. (Id. at 1-2; see also Govt. Ex. 1). After SA

Holden read Defendant the Miranda warnings, the following exchange occurred:

SA Holden:    Well, you now have the, the decision, you can talk to us of what happened, about

              what happened or you can talk to an attorney.

Defendant:    No, I better talk to an attorney.



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SA Holden:          You want to talk to an attorney?

Defendant:          With attorney.

SA Holden:          [to SA Tjernagel] He wants to talk to an attorney, alright?

                    [to Defendant] Errr Bueno. 4

                    [to SA Tjernagel] Anything else before we go?

SA Tjernagel: [to SA Holden] Nothing else.

SA Holden:          [to Defendant] Okay. We’ll errr, call you an attorney for you to meet with him in

                    private and after that you two will decide if you two want to talk to us, yes or no.

Defendant:          Okay.

SA Holden:          You understand me?

Defendant:          Yeah.

SA Holden:          Okay.

Defendant:          No, I can’t, I have to talk to my attorney, I can’t talk to the whole world about

                    this, no!

SA Holden:          Sorry?

Defendant:          That I have to talk to my attorney.

SA Holden:          Uhum.

Defendant:          He will give me the orders. He says. The attorney.

SA Holden:          Okay.

Defendant:          So.

(Def. Ex. A. at 2-3) (emphasis added).

           SA Holden, believing the interview to be over, turned off the recording.



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    No English translation of this statement was provided to the Court.

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             Between two and five minutes later, the Agents began recording the interview again.

During the intervening unrecorded period, SA Tjernagel and SA Holden began to pick up their

belongings. SA Tjernagel then got the attention of a Deputy Marshal to unlock the door to the

interview room to allow the Agents and Defendant out. SA Holden told Defendant that it would

be Defendant’s last chance to share his side of the story with the Agents and that, if Defendant

wanted to invoke his right to an attorney, the Agents were going to end the interview and leave.

In response to this communication by SA Holden, Defendant ultimately began speaking with the

Agents again without an attorney present.

             The Agents then began making a second recording. SA Holden again reviewed the

Miranda warnings with Defendant using the Spanish version of an FBI Advice of Rights Form,

going through the form line by line. (Govt. Ex. 1). To SA Holden, Defendant appeared to

understand the Miranda rights as SA Holden was explaining them to him. Defendant then signed

the Spanish language FBI Advice of Rights Form. (Govt. Ex. 1). The English translation of the

line that appears above Defendant’s signature on the form states “I have read this statement of

my rights and I understand what my rights are. At this time, I am willing to answer questions

without a lawyer present.” 5

             After Defendant signed the advice of rights form, the Agents began questioning

Defendant. The questioning lasted approximately an additional twenty-eight minutes.

       II.      DEFENDANT’S MOTION TO SUPPRESS STATEMENTS, [Docket No. 49]

             Defendant moves the Court to suppress any and all statements that he made to law

enforcement during the September 22, 2015, interview.




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    The Court notes, however, that the Agents had previously been told by Defendant that he could not read.

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       A. Standard of Review

       The Fifth Amendment provides that “[n]o person ... shall be compelled in any criminal

case to be a witness against himself.” U.S. Const., Amend. 5. To counteract the coercive pressure

of custodial police interrogations, “Miranda announced that police officers must warn a suspect

prior to questioning that he has a right to remain silent, and a right to the presence of an

attorney.” Maryland v. Shatzer, 559 U.S. 98, 103-04 (2010) (citing Miranda v. Arizona, 384 U.S.

436, 444 (1966)). “[Miranda] prohibits the government from introducing into evidence

statements made by the defendant during a custodial interrogation unless the defendant has been

previously advised of his [F]ifth [A]mendment privilege against self-incrimination and right to

an attorney.” United States v. Chipps, 410 F.3d 438, 445 (8th Cir. 2005) (citing Miranda, 384

U.S. at 444). Accordingly, interrogating officers are required to provide Miranda for official

interrogations where a person has been “taken into custody or otherwise deprived of his freedom

of action in any significant way[.]” Stansbury v. California, 511 U.S. 318, 322 (1994) (quoting

Miranda, 384 U.S. at 444).

       “Once warnings have been given, the subsequent procedure is clear. If the individual

indicates in any manner, at any time prior to or during questioning, that he wishes to remain

silent, the interrogation must cease.” Miranda, 384 U.S. at 473-74. In addition, “if the individual

states that he wants an attorney, the interrogation must cease until an attorney is present.” Id.

(Emphasis added). “[A]n accused . . . having expressed his desire to deal with the police only

through counsel, is not subject to further interrogation by the authorities until counsel has been

made available to him, unless the accused himself initiates further communication, exchanges, or

conversations with the police.” Edwards v. Arizona, 451 U.S. 477, 484-85 (1981) (emphasis

added). See also Minnick v. Mississippi, 498 U.S. 146, 153 (1990) (“In our view, a fair reading



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of Edwards and subsequent cases demonstrates that we have interpreted the rule to bar police-

initiated interrogation unless the accused has counsel with him at the time of questioning.”).

       B. Analysis

       Defendant made statements during two distinct segments of the interview: (1) before SA

Holden initially read Defendant the Miranda warnings; and, (2) after SA Holden initially read

him the Miranda warnings.

   1. Statements Made Before Initial Reading of the Miranda Warnings

       Before SA Holden read Defendant the Miranda warnings the first time, he asked

Defendant various questions seeking to elicit information regarding why the Agents were talking

to Defendant, the name of the alleged victim, and Defendant’s version of the events that led to

the indictment. It is undisputed that Defendant was in custody when SA Holden asked him those

initial questions, and given the investigation related nature of those initial questions, SA

Holden’s questions constituted interrogation. On the present record, it is also undisputed that

Defendant had not yet been provided the Miranda warnings before responding to SA Holden’s

initial questions. “Officers must inform suspects of their Miranda rights before subjecting them

to custodial interrogations.” United States v. Sanchez, 676 F.3d 627, 630 (8th Cir. 2012)

(emphasis added). “Failure to do so results in a violation of the suspect’s Fifth Amendment rights

and renders any statement gained from the violation inadmissible in the government’s case-in-

chief.” Id. (citing United States v. Vanover, 630 F.3d 1108, 1114 (8th Cir. 2011)).

       Accordingly, the Court recommends GRANTING Defendant’s Motion to Suppress

Statements, [Docket No. 49], to the extent Defendant seeks to suppress any statement that he

made before SA Holden initially read Defendant the Miranda warnings.




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   2. Statements Made After Initial Reading of the Miranda Warnings

       Defendant also moves the Court to suppress any statements he made after he invoked his

right to counsel. As both the testimony of SA Holden and the translated transcript of the first

recording of the interview indicate, Defendant unequivocally invoked his right to counsel

immediately after SA Holden read him the initial Miranda warnings. The Agents at that time,

admittedly understanding that Defendant had invoked his right to counsel, ceased questioning

Defendant, and ended the interview by stopping the recording.

       However, based on SA Holden’s testimony during the motions hearing, he re-engaged

Defendant in conversation before leaving the interview room by telling Defendant that it was his

last chance to talk to the Agents, because if he wanted an attorney, the Agents were going to

leave. Shortly afterwards, Defendant apparently began to speak to the officers again, and the

Agents, after reading Defendant the Miranda warnings a second time, resumed questioning him

in a second recorded statement. The Agents did not provide Defendant with an attorney before

they resumed questioning Defendant.

       Accordingly, the question now before the Court is whether the Agents lawfully obtained

Defendant’s responses when they resumed questioning him after Defendant had clearly invoked

his right to have counsel present during custodial interrogation.

       As noted above, once an accused who is subject to custodial interrogation requests to

have an attorney present during questioning, law enforcement must provide the accused with an

attorney before questioning may resume. Edwards, 451 U.S. at 484-485. In cases where counsel

was not provided to the accused before law enforcement resumed questioning, a court may allow

the accused’s responses to further questioning into evidence “only on finding that [Defendant]

(a) initiated further discussions with the police, and (b) knowingly and intelligently waived the



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right he had invoked. Smith v. Illinois, 469 U.S. 91, 95 (1984) (citing Edwards, 451 U.S., at 485,

486, n. 9) (emphasis added).

       The Government argues that SA Holden read Defendant the Miranda warnings twice, that

the Agents did not engage in any coercive tactics, and that Defendant, therefore, knowingly and

intelligently waived his right to counsel.

       The Government’s position reverses the order of the analysis required by Edwards, supra,

and Smith, supra. Defendant here unequivocally invoked his right to counsel. The initial inquiry

is not whether Defendant knowingly and intelligently waived his right to counsel after the second

reading of the Miranda warning by SA Holden, but rather, since it is undisputed that Defendant

had invoked his right to counsel earlier and the Agents terminated the interview because of it, in

the case now before the Court, it must initially be determined whether it was Defendant or the

Agents who reinitiated conversation about the case investigation.

       Not all discussion that follows an accused’s invocation of the right to counsel will be a

re-initiation of interrogation. When an accused’s invocation of the right to counsel is equivocal

or unclear, law enforcement may ask non-coercive questions to clarify whether the accused has

indeed requested the presence of counsel. Davis v. United States, 512 U.S. 452, 461 (1994). In

addition, questions by the accused or the officer that relate to the “routine incidents of the

custodial relationship,” typically will not suffice to initiate further communication for the

purposes of the Edwards rule. Oregon v. Bradshaw, 462 U.S. 1039, 1045 (1983). Rather,

“[i]nitiation by a defendant occurs when the defendant evinces ‘a willingness and a desire for a

generalized discussion about the investigation.’” Holman v. Kemna, 212 F.3d 413, 417 (8th Cir.

2000) (quoting Bradshaw, 462 U.S. at 1045-46).




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       Defendant’s invocation of the right to have counsel present in this case was not

equivocal. On the record presently before the Court, it is clear that both Agents clearly

understood that Defendant had invoked the right to counsel. SA Holden, the Government’s own

Spanish speaking witness, told SA Tjernagel (the non-Spanish speaking agent) that Defendant

had asked to speak to counsel. The Agents then terminated the interview by turning off their

recorder and began packing their things while SA Tjernagel contacted a Deputy Marshal to

unlock the interview room. This record plainly evidences the Agents’ understanding that

Defendant did not want to speak with them without counsel present. It is in this context that SA

Holden then testified that he, not the Defendant, reinitiated conversation during the two to five

minutes between the recorded interviews when he told Defendant that this would be Defendant’s

last chance to talk to the Agents. Accordingly, this is not a situation in which SA Holden’s

statement could be seen as simply trying to clarify whether Defendant had or had not sought to

invoke the right to counsel. Nor did SA Holden’s statement concern the routine incidents of the

custodial relationship. Rather, SA Holden’s statement on its face was plainly encouraging

Defendant to submit to a generalized discussion about the investigation, that is to say, it was an

effort by law enforcement to convince Defendant to again submit to interrogation without an

attorney present as Defendant had unequivocally requested. This is precisely the type of behavior

that the Edwards rule was created to deter. See Montejo v. Louisiana, 556 U.S. 778, 787 (2009)

(noting that the Edwards rule was designed to prevent police from “badgering a defendant into

waiving his previously asserted Miranda rights”).

       Because SA Holden, and not Defendant, reinitiated conversation about the investigation

following Defendant’s invocation of his right to counsel, the Court will and must presume that

Defendant’s statements in the second recording were made involuntarily, and the Government



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cannot show that Defendant waived his right to counsel merely by showing that Defendant was

read a second Miranda rights warning and signed the advice of rights form indicating that he was

then willing to speak to the Agents without counsel present. McNeil v. Wisconsin, 501 U.S. 171,

177 (1991) (“If the police do subsequently initiate an encounter in the absence of counsel . . . ,

the suspect’s statements are presumed involuntary and therefore inadmissible as substantive

evidence at trial, even where the suspect executes a waiver and his statements would be

considered voluntary under traditional standards.”).

          Accordingly, the Court concludes that the failure of the Agents to provide Defendant with

the requested counsel rendered all of the Defendant’s subsequent statements inadmissible. In

light of the foregoing, the Court recommends GRANTING Defendant’s Motion to Suppress

Statements, [Docket No. 49]).

   III.      CONCLUSION

          Based on the foregoing and all the files, records, and proceedings herein, IT IS

HEREBY RECOMMENDED that Defendant’s Motion to Suppress Statements, [Docket No.

49], be GRANTED as set forth above.


Dated: December 7, 2015.                                     s/Leo I. Brisbois
                                                             Leo I. Brisbois
                                                             U.S. MAGISTRATE JUDGE


                                            NOTICE

Filing Objections: This Report and Recommendation is not an order or judgment of the District
Court and is therefore not appealable directly to the Eighth Circuit Court of Appeals.

Under Local Rule 72.2(b)(1), “A party may file and serve specific written objections to a
magistrate judge’s proposed findings and recommendation within 14 days after being served
with a copy of the recommended disposition[.]” A party may respond to those objections within
14 days after being served a copy of the objections. LR 72.2(b)(2). All objections and responses
must comply with the word or line limits set forth in LR 72.2(c).

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Under Advisement Date: This Report and Recommendation will be considered under
advisement 14 days from the date of its filing. If timely objections are filed, this Report and
Recommendation will be considered under advisement from the earlier of: (1) 14 days after the
objections are filed; or (2) from the date a timely response is filed.




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